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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


    ALEX HOLT, MICHELLE DANIELS,                      )     Case No.: 6:17-cv-00693-RBD-GJK
    LARRY WASHINGTON, MARKO                           )
                                                      )
    FREEMAN, JOHN POINDEXTER, NIKKI                   )
    SYKES, PAULA SBABO, WO DAVIS,                     )
    JOHN AGAPOS, PAULA JOHNSON,                       )
                                                      )
    SHAWNTA POWELL, CELESTE HINES,                    )
    JENNIFER SPONSELLER, MARNETTA                     )
    JACKSON, FLORENCE MIMS,                           )
                                                      )
    CONSTANCE HUNTER, CASSANDRA                       )
    MCCLINTON, SHAY TUCKER, REGINA                    )
    LUCKETT, and ASHLEY MARTIN, on                    )
                                                      )
    behalf of themselves and others similarly         )
    situated,                                         )
                                                      )
                Plaintiffs,                           )
                                                      )
    vs.                                               )
                                                      )
    WAFFLE HOUSE, INC., a Georgia                     )
    corporation, WH CAPITAL, LLC, a                   )
                                                      )
    Georgia limited liability company, THE            )
    SOURCE FOR PUBLIC DATA, L.P. dba                  )
    PUBLICDATA.COM, a foreign limited                 )
    partnership, SHADOWSOFT, INC., a                  )
                                                      )
    foreign corporation, HARLINGTON-                  )
    STRAKER-STUDIO, INC., a Texas                     )
    corporation, and DALE BRUCE                       )
                                                      )
    STRINGFELLOW, an individual,                      )
                                                      )
                Defendants.                           )


                      NOTICE OF DISMISSAL WITHOUT PREJUDICE

          Pursuant to the Court’s order dated October 25, 2017 in the related action Jones v. Waffle

House, et al., Case No. 6:15-cv-01637-RBD-DAB (“Jones Action”) [Jones, Dkt. No. 151],

Plaintiffs Alex Holt, Michelle Daniels, Larry Washington, Marko Freeman, John Poindexter,


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Nikki Sykes, Paula Sbabo, Wo Davis, John Agapos, Paula Johnson, Shawnta Powell, Celeste

Hines, Jennifer Sponseller, Marnetta Jackson, Florence Mims, Constance Hunter, Cassandra

McClinton, Shay Tucker, Regina Luckett, and Ashley Martin (“Plaintiffs”) have filed a

consolidated complaint in the Jones action that incorporates the claims alleged herein [see Jones,

Dkt. No. 154], and thus pursuant the Court’s order of October 25, 2017 hereby dismiss for

administrative purposes the above-captioned action without prejudice.


DATED: November 14, 2017


                                                 s/ Justin Kachadoorian_____
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                                                 (admitted pro hac vice)
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of November 2017, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF which will automatically send e-
mail notification of such filing to all attorneys of record.

                                          s/ Justin Kachadoorian____________
                                          Justin Kachadoorian, Esq.




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